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   EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,

                                 Plaintiff,                No. 20 Civ. 7311 (LAK)
                      v.
                                                           FIRST AMENDED COMPLAINT
 DONALD J. TRUMP, in his personal capacity,                AND DEMAND FOR JURY
                                                           TRIAL
                                 Defendant.


        Plaintiff E. Jean Carroll, by and through her attorneys at Kaplan Hecker & Fink LLP,

alleges as follows:

                                         INTRODUCTION

        1.      Nobody in this nation is above the law. Nobody is entitled to conceal acts of sexual

assault behind a wall of defamatory falsehoods and deflections. The sexual assault of a woman is

a violent crime; compounding that crime with acts of malicious libel and slander is abhorrent. Yet

that is what Defendant Donald J. Trump did to Plaintiff E. Jean Carroll—repeatedly, over several

years, and even after a jury of six men and three women in this District unanimously found him

liable for sexual abuse and defamation based on a statement that was substantially similar to the

ones at issue in this lawsuit.

        2.      Roughly 27 years ago, what began as playful banter at the luxury department store

Bergdorf Goodman on Fifth Avenue in New York City took a dark turn when Trump seized

Carroll, forced her up against a dressing room wall, pinned her in place with his shoulder, and

sexually assaulted her.

        3.      In the aftermath, Carroll confided in two close friends. One urged her to report the

crime to the police, but the other warned that Trump would ruin her life and livelihood if she

reported it.
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          4.   Carroll chose silence—and remained silent for over two decades.

          5.   Carroll knew then that sexual assault was pervasive. She also knew that men have

been assaulting women and getting away with it since before she was born. And she knew that

while a woman who accused any man of sexual assault was rarely believed, a woman who accused

a rich, famous, violent man of such conduct would risk losing everything. She therefore reasonably

concluded that if she accused Donald Trump of assault, he would bury her in threats, and she

would probably lose her job and reputation, not to mention everything she had worked for and

achieved, all of which turned out to be true.

          6.   Near the end of the 2016 presidential election, Carroll watched in horror as

numerous women offered highly credible (and painfully familiar) accounts of Trump assaulting

them; Trump responded with insults and denials; the public fractured; and Trump not only won

the election, but actually grew more popular with some supporters as a result of the controversy.

          7.   Carroll’s mother, a former Republican official in Indiana, was dying during the last

six weeks of the presidential election. Carroll, wanting to make her mother’s last days as pleasant

as possible and avoid causing her any pain, decided to remain silent about what Trump had done

to her.

          8.   But that all changed in late 2017, when the Harvey Weinstein scandal and its

aftermath signaled a profound shift in how American society responds to accusations of sexual

misconduct by powerful men. It suddenly seemed possible that even Trump could be held to

account.

          9.   For Carroll, that project grew more urgent—and more personal—as the #MeToo

era prompted a flood of new letters to her advice column seeking her counsel about how to respond

to sexual assault and abuse. In her column, Carroll encourages her readers to be brave, to think




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clearly, and to seek justice. When readers overcome with doubt and anxiety have turned to her

seeking advice, Carroll has always advised taking action. But she never confessed her own

experiences. She never revealed that she, too, had been a victim of sexual assault. Over time, as

described below, the contradiction between Carroll’s words and her actions became increasingly

untenable.

       10.     Carroll is a journalist. She watched as a throng of women came forward and accused

Trump of sexual assault, only to be denigrated and then brushed aside. When she felt she should

finally come forward herself, Carroll wanted to do it differently. She decided to describe Trump’s

sexual assault in a book she had already begun to write about her experiences with various men.

She did not want to tell her story to the police, a newspaper, an elected official, or a fellow

journalist, and be treated as a “victim.” In other words, she wanted to tell her own story on her

own terms.

       11.     When Carroll’s account was published, Trump lashed out with a series of false and

defamatory statements. He denied the sexual assault. But there was more: he also denied ever

having met Carroll or even knowing who she was. Through express statements and deliberate

implications, he accused Carroll of fabricating her allegations in order to increase book sales, carry

out a political agenda, advance a conspiracy with the Democratic Party, and make money. He also

deliberately implied that she had falsely accused other men of assault. For good measure, he

insulted her physical appearance.

       12.     Each of these statements was false. Each of them was defamatory.

       13.     Trump knew that these statements were false; at a bare minimum, he acted with

reckless disregard for their truth or falsity. Trump had recognized Carroll on sight at Bergdorf

Goodman. He knew who she was when he sexually abused her, and he knew who she was in 2019.




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He certainly knew that she was telling the truth. After he lied about attacking her, he surrounded

that central lie with a swarm of related lies in an effort to explain why she would invent an

accusation of sexual assault. To do so, he smeared her integrity, honesty, and dignity—all in the

national press.

           14.    These lies were familiar to Trump. He had used them before, when other women

stated that he had grabbed or groped them.

           15.    Trump’s June 2019 defamatory statements injured Carroll, adding to the harm she

suffered from his underlying sexual assault. They inflicted emotional pain and suffering, they

damaged her reputation, and they caused substantial professional harm.

           16.    But Trump’s defamatory lies did not stop in 2019. He made additional, substantially

similar false claims about Carroll again in October 2022 when he was a private citizen. This time,

Trump posted similar smears—once again asserting that he never sexually abused Carroll, denied

having known her, and asserted that she was too ugly to have assaulted—to his more than four

million followers on his own social media platform, Truth Social, damaging her reputation even

further.

           17.    On May 9, 2023, after a two-week trial in the Southern District of New York, a

nine-person jury found that Trump had sexually abused Carroll and that his 2022 statement

denying the assault on Truth Social was defamatory. The jury awarded Carroll $5 million in

damages: $2.02 million for the assault, and $2.98 million for the defamation.

           18.    But Trump, undeterred by the jury’s verdict, persisted in maliciously defaming

Carroll yet again. On the very next day, May 10, 2023, Trump lashed out against Carroll during a

televised, primetime “town hall” event hosted by CNN. He doubled down on his prior defamatory

statements, asserting to an audience all too ready to cheer him on that “I never met this woman. I




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never saw this woman,” that he did not sexually assault Carroll, and that her account—which had

just been validated by a jury of Trump’s peers one day before—was a “fake,” “made up story”

invented by a “whack job.” Those statements resulted in enthusiastic cheers and applause from the

audience on live TV.

        19.    Carroll filed this lawsuit to obtain redress for her injuries and to demonstrate that

even a man as powerful as Trump can be held accountable under the law.

                                         THE PARTIES

        20.    Plaintiff E. Jean Carroll is a journalist, author, former writer for Saturday Night

Live, and former advice columnist for Elle magazine. She is a domiciliary of the State of New

York.

        21.    Defendant Donald J. Trump is the former President of the United States, and he is

sued here only in his personal capacity. While in office, Trump filed several lawsuits in his

personal capacity, including Trump v. Vance, Jr. et al., No. 19 Civ. 8694 (S.D.N.Y.), Trump et al.

v. Deutsche Bank AG et al., No. 19 Civ. 3826 (S.D.N.Y.), Donald J. Trump for President, Inc. et

al. v. Padilla et al., No. 19 Civ. 1501 (E.D. Cal.), Trump v. Committee on Ways and Means of the

U.S. House of Representatives et al., No. 19 Civ. 2173 (D.D.C.), and Trump et al. v. Committee

on Oversight and Reform of the U.S. House of Representatives et al., No. 19 Civ. 1136 (D.D.C.).

At the time Carroll filed this suit, Trump was also a domiciliary of the State of New York.

                                JURISDICTION AND VENUE

        22.    Carroll initiated this action in the Supreme Court of the State of New York on

November 4, 2019. The Attorney General’s delegate then issued a certification pursuant to 28

U.S.C. § 2679(d)(2), and the United States removed the action to this Court on September 8, 2020.

This Court thus has subject matter jurisdiction of this action. See Osborn v. Haley, 549 U.S. 225,

245 (2007).


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        23.      Venue is proper pursuant to 28 U.S.C. § 2679(d)(2). It is also proper pursuant to 28

U.S.C. § 1391(b)(2) because a substantial part of the events giving rise to this action occurred in

this District.

        24.      Personal jurisdiction over Trump is proper pursuant to C.P.L.R. § 301, as Trump

was a domiciliary of the State of New York at the time Carroll initiated this action.

                                   FACTUAL ALLEGATIONS

I.      TRUMP SEXUALLY ASSAULTS CARROLL AT BERGDORF GOODMAN

        25.      One evening in the spring of 1996, Carroll left work and went to Bergdorf

Goodman, the luxury department store on Fifth Avenue in New York City. She was and remains

a regular shopper at Bergdorf’s.

        26.      That evening, Carroll did not find whatever she was looking for and prepared to

leave Bergdorf’s empty-handed. As she exited through Bergdorf’s revolving side door on 58th

Street, Trump arrived and entered through that very same door, which was cater-cornered across

from the Plaza Hotel.

        27.      Trump instantly recognized Carroll on sight. They had met at least once before and

had long traveled in the same New York City media circles. In this period, Carroll was doing the

daily Ask E. Jean TV show, a small hit on the “America’s Talking” network started by Roger

Ailes. Trump himself had appeared on Ailes’s talk show, Straight Forward, on that network in

November 1995. And Carroll’s show re-ran each night at 11 p.m., right before the nightly re-run

of Ailes’s show. She was also on a frequent guest and commentator on the widely watched Today

show and Good Morning America.

        28.      Trump and Carroll had previously been photographed at a party together:




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       29.     At the 58th Street revolving glass doorway of Bergdorf’s, Trump put up his hand

to stop Carroll from exiting and said, “Hey, you’re that advice lady!” Carroll, struck by his boyish

good looks, responded by saying, “Hey, you’re that real estate tycoon!”

       30.     Trump said that he was at Bergdorf’s to buy a present for “a girl” and asked Carroll

to come advise him. Carroll was surprised but thrilled that Trump would want her advice. She

stuck around, imagining the funny stories that she might later recount.

       31.     Trump and Carroll began searching for a gift that Trump could give to the unnamed

girl. As they stood just inside the door, Carroll pointed to the handbags. Trump made a face; he

did not like that idea. Carroll instead suggested a hat. Trump walked over, going straight for a fur

hat, prompting Carroll to object that no woman would wear a dead animal on her head.

       32.     As Trump petted the fur hat, Carroll asked how old “the girl” was. Trump did not

answer, instead asking Carroll how old she was. When Carroll replied that she was fifty-two years

old, he taunted her, “You’re so old!”

       33.     Trump then had an idea: He would buy lingerie instead.

       34.     Trump and Carroll rode up the escalator to the lingerie department. When they

arrived, it was empty, with no sales attendant in sight, as was not uncommon past 6 p.m. on a

Thursday night in the spring of 1996. Sitting on the counter near them were two or three boxes and

a see-through bodysuit in lilac gray.


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       35.     Snatching the bodysuit, Trump insisted that Carroll try it on. Bemused, Carroll

responded that he should try it on himself, adding that it was his color. Trump and Carroll went

back and forth, teasing each other about who should try on the bodysuit.

       36.     Suddenly, Trump grabbed Carroll’s arm and said, “Let’s put this on.”

       37.     Trump maneuvered Carroll to the dressing room. As they moved, Carroll laughed,

thinking to herself that she would make him put the bodysuit on over his pants.

       38.     As was not uncommon at Bergdorf’s during this period, the dressing room door

was open and unlocked.

       39.     Trump closed the door of the dressing room.

       40.     Immediately, Trump lunged at Carroll, pushing her against the wall, bumping her

head quite badly, and putting his mouth on her lips.

       41.     Carroll shoved him back. Utterly shocked by Trump’s unexpected attack, Carroll

burst out in awkward laughter. She could hardly process the insanity of the situation. She also

hoped, at least at first, that laughter would bruise his ego and cause him to retreat.

       42.     But Trump did not stop. He seized both of her arms and pushed her up against the

wall again, bumping her head a second time. While pinning Carroll against the wall with his

shoulder, Trump jammed his hand under her coatdress and pulled down her tights.

       43.     Trump opened his overcoat and unzipped his pants. Trump then pushed his fingers

around Carroll’s genitals and forced his penis inside of her.

       44.     Carroll resisted, struggling to break free. She tried to stomp his foot with her high

heels. She tried to push him away with her one free hand (as she kept holding her purse with the

other). Finally, she raised a knee up high enough to push him out and off her.

       45.     Carroll ran out of the dressing room, out of Bergdorf’s, and onto Fifth Avenue.




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        46.     The whole attack lasted only a few minutes.

II.     CARROLL CONFIDES IN TWO FRIENDS ABOUT THE SEXUAL ASSAULT

        47.     As soon as she was outside Bergdorf’s, Carroll pulled her phone out of her purse

and called her friend Lisa Birnbach, the author, journalist, and correspondent on TV morning

shows. 1 Carroll was breathless and still reeling from the assault. She kept laughing, manically—

her way of coping with the stress and trauma that she had just experienced.

        48.     Carroll recounted to Birnbach how Trump had attacked her in Bergdorf’s dressing

room. She told Birnbach how Trump had pulled down her tights and put his penis inside of her.

        49.     “He raped you,” Birnbach kept repeating. She begged Carroll to go to the police

and offered to accompany her. Still in shock and reluctant to think of herself as a victim, Carroll

did not want to speak to the police. She told Birnbach that it was just a few minutes of her life and

that it was over. She implored Birnbach never to tell anyone what had happened.

        50.     Carroll drove home and crawled straight into bed.

        51.     Over the next few days, Carroll confided in a second friend, the New York City

journalist and news anchor Carol Martin. They sat together in the kitchen as Carroll described the

incident. This time, Carroll did not laugh. Nobody laughed. The gravity of the assault had finally

started to sink in.

        52.     Martin solemnly advised Carroll to tell no one. Recognizing that Trump was a

powerful man, Martin feared that if her friend came forward, disaster would ensue. Martin warned

Carroll, in sum and substance: “Tell no one. Forget it! He has two hundred lawyers. He’ll bury

you.”


        1
         Birnbach wrote a story about Trump’s Mar-a-Lago that was published in February 1996.
See Lisa Birnbach, Mi Casa Es Su Casa, NEW YORK (Feb. 12, 1996). Birnbach has suggested that
it was because of her work on that article that Carroll called her immediately after the assault.


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         53.   Carroll took Martin’s advice. She knew how brutal and dangerous Trump could be.

         54.   Carroll was also afraid of being dragged through the mud if she reported the sexual

assault. She was convinced that nobody would believe her if she came forward. And like so many

other survivors of sexual assault, Carroll also blamed herself. She called herself “stupid.” She told

herself that she “deserved it” for agreeing to go lingerie shopping with Trump. She struggled with

the guilt that, somehow, though she had fought to protect herself from his attack, it was her fault

that Trump had assaulted her because she had entered that Bergdorf dressing room.

         55.   Fundamentally, Carroll was raised to believe that strong women get by in the world

with a stiff upper lip—i.e., by putting hardship and suffering behind them. She believed that strong

women laugh at disasters because feeling sad only doubles the burden. To Carroll, laughter is how

women have dealt with calamity for thousands of years. So Carroll put her chin up and tried to

move on.

         56.   Carroll thus chose silence.

         57.   Carroll did not mention the sexual assault again for over twenty years. She did not

want to be seen—or to see herself—as a victim of sexual assault.

III.     CARROLL REMAINS SILENT FOR TWENTY YEARS

         58.   For the next twenty years, Carroll pursued her career as a writer and advice

columnist. Over time, she built a loyal audience and enjoyed the support of her publisher. Her Ask

E. Jean advice column in Elle magazine became the longest, still-active advice column in

American publishing. Its success resulted in large part from the many letters sent to her by readers.

         59.   Carroll’s column in Elle was about life and love. Readers’ questions ranged from

the lighthearted to the deeply personal. From time to time, readers would ask questions about

whether behavior that they experienced at work, at church, and in their relationships was




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appropriate. When Carroll detected sexism or abuse, she did her level best to call it out and to help

women protect themselves.

        60.     In her advice columns, Carroll sought to offer witty, wise, and worldly guidance,

and to address her readers in a clear, straightforward manner. She often urged readers to speak the

truth and to recognize patterns of rationalization and abuse. Readers’ perception of Carroll as

honest, thoughtful, frank, and well-meaning were essential to Carroll’s professional success.

        61.     But in responding to her readers, Carroll did not confess her own life experiences,

including the sexual assault by Trump described above.

        62.     During the last month of the election of 2016, Carroll watched a multitude of

women reveal that Trump had engaged in sexual misconduct. She saw Trump brutally attacking

his accusers on a national stage—denying their accusations, while also savaging their reputations

and insulting their appearances.

        63.     And as Carroll sat at the bedside of her dying mother in a Bloomington, Indiana

hospital, watching numerous, credible women stun the nation with their stories of Trump’s sexual

brutality, Carroll briefly considered whether she, too, should reveal that Trump had assaulted her.

But she feared—just as she had for decades—that Trump would lie his way out of it, while

destroying her life and reputation. He had done it before to plenty of women and, it seemed to

Carroll, he would readily do it again. And, worst of all, coming forward with her story would also

cause a media storm in Indiana and destroy her mother’s last happy days on the planet. Carroll

feared that it would cost her and her family dearly without actually changing anything, especially

since any accusation made during the presidential campaign would be characterized by Trump and

his allies as a stunt to thwart his election.




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        64.    Indeed, Carroll worried that she might make Trump more popular in states like

Indiana by revealing the sexual assault, since his electoral fortunes had steadily improved despite

credible allegations of sexual abuse. To Carroll, it appeared that some of Trump’s political

supporters actually admired the fact that Trump was rich enough, macho enough, and powerful

enough to be sued by—and to pay off—all these women he had groped and penetrated (especially

porn stars and Playboy models).

        65.    Carroll, in honor of her mother’s remarkable life, many years of which were spent

as a local and loyal Republican elected official, and because she thought the publicity would help

Trump win the election, warily persisted in her decades-old silence.

        66.    Carroll’s mother died on October 11, 2016. In 2017, Carroll decided to write a book

drawing on her observations as an advice columnist, but focusing specifically on her own life and

trying to understand why so many Ask E. Jean letter-writers complained about men. On the

morning of October 5, 2017, Carroll set out on a road trip, traveling to towns named after women.

When she arrived in each town named after a woman (Angelica, New York, Tallulah, Louisiana,

Marianna, Arkansas, and so forth), she spoke to women from all walks of life about their

relationships with men. She asked many of her subjects about the roles that men play in their lives.

IV.     CARROLL DECIDES TO SPEAK OUT

        67.    On the very day Carroll began her road trip for her book, October 5, 2017, the New

York Times revealed that Harvey Weinstein had sexually assaulted and harassed dozens of women

in the film industry. 2 The news went off in Carroll’s mind like a bomb. She could not stop reading.

Painful memories of abuse at the hands of men, including Trump, swept over her.



        2
        Jodi Kantor & Megan Twohey, Harvey Weinstein Paid Off Sexual Harassment Accusers
for Decades, N.Y. TIMES (Oct. 5, 2017).


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        68.    Days later, several women accused Weinstein of rape. 3 It soon became clear to

Carroll, and to the American people, that Weinstein’s abuses had been enabled for decades by a

loose network of loyalists and lawyers, who had ensured that Weinstein evaded accountability for

his exploitation of women—even though it was an open secret in Hollywood.

        69.    As the Weinstein scandal persisted, Carroll saw society respond to the accusations

with a seriousness and depth of self-reflection that she had never seen before; all too often, and as

recently as the 2016 election, many Americans had brushed aside or marginalized accusations of

sexual misconduct by powerful men. Carroll also saw other women suddenly feel emboldened to

come forward with their own reports of harassment, exploitation, abuse, violence, and rape.

        70.    Carroll was profoundly moved by this experience. The walls that she had erected

in her mind—the fear that Trump would emerge unscathed, the wariness of allowing him and his

allies to come after her, the doubt that speaking up would actually matter, and the nagging anxiety

that she was somehow to blame for being sexually assaulted—began to crumble. Decades of

deflection, diversion, and denial dissolved, resurfacing memories and feelings that she had hidden

away.

        71.    Carroll was struck by the fact that Weinstein, for all his wealth and power, could

still be held accountable for his sexual misconduct. She saw how women had at last changed the

public conversation by saying “Me Too” and by demanding accountability.

        72.    These observations led Carroll to reflect again on her column in Elle magazine, and

to ask whether she was a hypocrite. For decades, she had paired her trademarked wit with steely

resolve in confronting the everyday unfairness—and, all too often, the abuse—that her (largely



        3
         Ronan Farrow, From Aggressive Overtures to Sexual Assault: Harvey Weinstein’s
Accusers Tell Their Stories, NEW YORKER (Oct. 10, 2017).


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female) readers confessed. Carroll’s written persona was brave. But she still had not confessed her

own experiences of abuse, her fear of coming forward, or her creeping self-doubt.

       73.     These internal reflections loomed larger in her mind—and became inescapable—

as more readers of Carroll’s advice column began asking, “Should I come forward with my account

of surviving sexual abuse or harassment?”

       74.     Carroll finally decided that she owed her readers the truth. She also owed them (and

many other women) solidarity in their efforts to bring justice and accountability to powerful men

who had engaged in sexual assault and gotten away with it. She knew that it would be painful to

speak up. But she also knew that it was the right thing to do so.

       75.     While Carroll was on the road trip across the country talking to women as research

for her book, she started a list of the 21 most hideous men she had ever encountered—men who

had, each in his own way, left indelible and ugly marks on her story. This list grew into a book,

What Do We Need Men For?: A Modest Proposal. In that book, Carroll interspersed the stories of

women she had met while traveling the country with the men on her “Most Hideous List.”

       76.     Two men on the Most Hideous List haunted Carroll the most. The first was Cam

Parks, the Waterfront Director at her Girl Scout camp, a man who sexually abused her every day

during a two-week period when she was twelve. The second was Donald Trump, the man who

sexually abused her when she was 52. Carroll described that attack in detail.

       77.     Carroll knew a book was the right place for her to come forward about Trump’s

assault. Writing is Carroll’s lifeblood; she writes to process the world around her and to reveal her

inner self. It’s her normal way of living: she writes about what happens to her, often in a

confessional, idiosyncratic manner. She also believed that a book would allow her to control her

narrative and speak directly to her readers. This was important. Carroll did not want to be, or to




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act like, a victim. She wanted to tell her story on her terms, rather than as filtered through

journalists or social media. Her language was specific.

       78.       In her book, Carroll truthfully described, in meticulous detail, the sexual assault in

Bergdorf Goodman:

       “The next moment, still wearing correct business attire, shirt, tie, suit jacket,
       overcoat, he opens the overcoat, unzips his pants, and, forcing his fingers around
       my private area, then thrusts his penis halfway—or completely, I’m not certain—
       inside me.” 4

       79.       She also explained why she had not come forward earlier:

       “Receiving death threats, being driven from my home, being dismissed, being
       dragged through the mud, and joining the sixteen women who’ve come forward
       with credible stories about how the man grabbed, badgered, belittled, mauled,
       molested, and assaulted them, only to see the man turn it around, deny, threaten,
       and attack them doesn’t sound like much fun. Also, I’m a coward.” 5

       80.       At noon on June 21, 2019, New York magazine published Carroll’s account of the

sexual assault on NYMag.com as an excerpt of her forthcoming book. The excerpt first appeared

on The Cut, a vertical on NYMag.com. The excerpt appeared on newsstands three days later in the

June 24-July 7 print edition.

       81.       Carroll’s book was released by St. Martin’s Press on July 2, 2019.

V.     TRUMP REPEATEDLY DENIES SEXUALLY ASSAULTING CARROLL AND
       MAKES A SLEW OF FALSE, INSULTING STATEMENTS ABOUT HER

       82.       In three statements—published on June 21, 22, and 24, 2019, respectively—Trump

responded to Carroll by denying the attack and publicly, falsely, and maliciously smearing her

reputation.

       83.       On June 21, 2019, Trump issued the following public statement:



       4
           E. JEAN CARROLL, WHAT DO WE NEED MEN FOR?: A MODEST PROPOSAL 248 (2019).
       5
           Id. at 244.


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        “Regarding the ‘story’ by E. Jean Carroll, claiming she once encountered me at
        Bergdorf Goodman 23 years ago. I’ve never met this person in my life. She is trying
        to sell a new book—that should indicate her motivation. It should be sold in the
        fiction section.

        Shame on those who make up false stories of assault to try to get publicity for
        themselves, or sell a book, or carry out a political agenda—like Julie Swetnick who
        falsely accused Justice Brett Kavanaugh. It’s just as bad for people to believe it,
        particularly when there is zero evidence. Worse still for a dying publication to try
        to prop itself up by peddling fake news—it’s an epidemic.

        Ms. Carroll & New York Magazine: No pictures? No surveillance? No video? No
        reports? No sales attendants around?? I would like to thank Bergdorf Goodman for
        confirming that they have no video footage of any such incident, because it never
        happened.

        False accusations diminish the severity of real assault. All should condemn false
        accusations and any actual assault in the strongest possible terms.

        If anyone has information that the Democratic Party is working with Ms. Carroll or
        New York Magazine, please notify us as soon as possible. The world should know
        what’s really going on. It is a disgrace and people should pay dearly for such false
        accusations.”

        84.    Upon information and belief, Trump’s June 21, 2019 statement was first given to

the press, including Laura Litvan of Bloomberg News, who posted it on Twitter at 2:17 p.m. 6

        85.    Trump’s June 21, 2019 statement was subsequently shared online by other

journalists and covered by many leading news sources as Trump’s statement in response to

Carroll. 7


        6
            See Laura Litvan (@LauraLitvan), Twitter (June               21,   2019    2:17    PM),
https://twitter.com/LauraLitvan/status/1142179819075121154.
        7
         See, e.g., AFP News Agency, US Writer Says Trump Sexually Assaulted Her in Mid-
1990s, AL JAZEERA, (June 21, 2019); Alexandra Alter, E. Jean Carroll Accuses Trump of Sexual
Assault in Her Memoir, N.Y. TIMES (June 21, 2019); Jenna Amatulli, Trump on E. Jean Carroll
Rape Allegation: “I’ve Never Met This Person in My Life”, HUFFINGTON POST (June 21, 2019);
Amber Athey, Trump Responds to Rape Accuser: “People Should Pay Dearly for Such False
Accusations”, DAILY CALLER (June 21, 2019); Brian Bennet, Trump Says He “Never Met” Author
Who Has Accused Him of Sexual Assault, TIME (June 21, 2019); Ellie Bufkin, Trump Issues
Blistering Denial of E. Jean Carroll's Rape Allegation, WASH. EXAMINER (June 21, 2019); Adam



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       86.     In the June 21, 2019 statement, Trump falsely stated that he did not sexually assault

Carroll.

       87.     In the June 21, 2019 statement, Trump falsely stated that he had never met Carroll.

       88.     In the June 21, 2019 statement, Trump falsely implied and affirmatively intended

to imply that he had no idea who Carroll was.

       89.     In the June 21, 2019 statement, Trump falsely implied and affirmatively intended

to imply that Carroll had invented her allegations as a ploy for increased book sales.

       90.     In the June 21, 2019 statement, Trump falsely implied and affirmatively intended

to imply that Carroll invented her allegations to carry out a political agenda.




Carlson, Noted Advice Columnist Says Trump Raped Her in Manhattan Department Store in the
’90s—“Never Happened,” Trump Responds, PEOPLE MAG. (June 21, 2019); Matthew Choi, Trump
Dismisses New Sexual Assault Allegation, POLITICO (June 21, 2019); Casey Darnell, Writer Says
She Was Raped by Trump in 1990s, YAHOO! NEWS (June 21, 2019); EJ Dickson, E. Jean Carroll
Alleges President Donald Trump Assaulted Her, ROLLING STONE (June 21, 2019); Vivian Ho &
Lauren Gambino, Evening Summary: Trump Responds to E Jean Carroll’s Allegations, GUARDIAN
(June 21, 2019); Colby Itkowitz, Magazine Columnist Accuses Trump of Sexual Assault More than
Two Decades Ago, an Allegation He Denies, WASH. POST (June 21, 2019); Sarah Jones, E. Jean
Carroll: “Trump Attacked Me in the Dressing Room of Bergdorf Goodman.”, N.Y. MAG. (June
21, 2019); Hilary Lewis, E. Jean Carroll Says Bringing Rape Charges Against Trump Would Be
“Disrespectful” to Migrant Women, HOLLYWOOD REP. (June 22, 2019); Caitlin Mac Neal, Advice
Columnist E. Jean Carroll Accuses Donald Trump Of Sexual Assault, TALKING POINTS MEMO
(June 21, 2019); Alex Pappas, Longtime Advice Columnist E. Jean Carroll Accuses Trump of
Sexual Assault in 1990s, FOX NEWS, (June 21, 2019); Daniel Politi, Trump Goes on Tirade to Deny
Latest Assault Allegation: Women Are “Paid Money” to Make False Claims, SLATE (June 22,
2019); Christina Prignano, Author E. Jean Carroll Accuses President Trump of Sexual Assault in
1990s, BOS. GLOBE (June 21, 2019); Eliza Relman, Trump Claims He’s Never Met the Columnist
Who Just Accused Him of Sexual Assault Despite Photo Evidence of Them Together, BUS. INSIDER
(June 21, 2019); Darlene Superville, Trump Denies Knowing NY Woman Accusing Him of Sexual
Assault, ASSOCIATED PRESS (June 22, 2019); Jessica Taylor, Trump Denies New Sexual Assault
Allegation by Advice Columnist E. Jean Carroll, NPR (June 21, 2019); Josh Wingrove, Columnist
E. Jean Carroll Accuses Trump of Sexual Assault in 1990s, FORTUNE (June 21, 2019); Trump
Dismisses E. Jean Carroll Rape Allegation as “Fiction”, BBC NEWS (June 22, 2019); Josh
Wingrove, Woman Accuses Trump of Sexual Assault at New York Store in 1990s, BLOOMBERG
(June 21, 2019).


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       91.     In the June 21, 2019 statement, Trump falsely implied and affirmatively intended

to imply that Carroll invented her allegations as part of a conspiracy with the Democratic Party.

       92.     On June 22, 2019, Trump made the following statement to reporters:

       “[Reporter]: [Y]ou had said earlier that you never met E. Jean Carroll. There was
       a photograph of you and her in the late 1980’s—

       [Trump]: I have no idea who this woman is. This is a woman who has also accused
       other men of things, as you know. It is a totally false accusation. I think she was
       married—as I read; I have no idea who she is—but she was married to a, actually,
       nice guy, Johnson—a newscaster.

       [Reporter]: You were in a photograph with her.

       [Trump]: Standing with coat on in a line—give me a break—with my back to the
       camera. I have no idea who she is. What she did is—it’s terrible, what’s going
       on. So it’s a total false accusation and I don’t know anything about her. And she’s
       made this charge against others.

       And, you know, people have to be careful because they’re playing with very
       dangerous territory. And when they do that—and it’s happening more and
       more. When you look at what happened to Justice Kavanaugh and you look at
       what’s happening to others, you can’t do that for the sake of publicity.

       New York Magazine is a failing magazine. It’s ready to go out of business, from
       what I hear. They’ll do anything they can. But this was about many men, and I was
       one of the many men that she wrote about. It’s a totally false accusation. I have
       absolutely no idea who she is. There’s some picture where we’re shaking hands. It
       looks like at some kind of event. I have my coat on. I have my wife standing next
       to me. And I didn’t know her husband, but he was a newscaster. But I have no idea
       who she is—none whatsoever.

       It’s a false accusation and it’s a disgrace that a magazine like New York—which is
       one of the reasons it’s failing. People don’t read it anymore, so they’re trying to get
       readership by using me. It’s not good.

       You know, there were cases that the mainstream media didn’t pick up. And I don’t
       know if you’ve seen them. And they were put on Fox. But there were numerous
       cases where women were paid money to say bad things about me. You can’t do
       that. You can’t do that. And those women did wrong things—that women were
       actually paid money to say bad things about me.




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         But here’s a case, it’s an absolute disgrace that she’s allowed to do that.” 8

         93.    Like his first statement, Trump’s June 22, 2019 statement regarding Carroll was

widely reported in the national press. 9

         94.    In the June 22, 2019 statement, Trump falsely stated that he did not sexually assault

Carroll.

         95.    In the June 22, 2019 statement, Trump falsely stated that he had no idea who Carroll

was.

         96.    In the June 22, 2019 statement, Trump falsely implied and affirmatively intended

to imply that Carroll had falsely accused other men of sexual assault.

         97.    In the June 22, 2019 statement, Trump falsely implied and affirmatively intended

to imply that Carroll had been paid money to invent allegations against him.




         8
        Remarks by President Donald Trump Before Marine One Departure, WHITE HOUSE (June
22, 2019).
         9
         See, e.g., Matthew Chapman, Trump Goes on Manic Tirade After Being Asked About New
Rape Allegation: Women Get “Paid Money to Say Bad Things About Me”, RAW STORY (June 22,
2019); William Cummings, Writer E. Jean Carroll Made a Claim of Sexual Assault Against
Trump. Here's What We Know, USA TODAY (June 25, 2019); Gillian Edevane, George Conway
Says Trump’s Credibility is “Annihilated” After President Denies Knowing Alleged Assault
Victim, NEWSWEEK (June 22, 2019); Lulu Garcia-Navarro, “It Hurt. And It Was Against My Will”:
Trump Accuser Stands by Her Story, NPR (June 22, 2019); Amanda Holpuch, Trump Repeats
Contested Claim He Does Not Know Latest Sexual Assault Accuser, GUARDIAN (June 22, 2019);
Colby Itkowitz et al., Trump Compares Himself to Kavanaugh in Latest Sexual Assault Allegation,
WASH. POST (June 22, 2019); Darlene Superville, Trump Denies Knowing E. Jean Carroll, Woman
Accusing Him of Sexual Assault in Department Store, ABC NEWS (June 22, 2019); Darlene
Superville, Trump Denies Knowing NY Woman Accusing Him of Sexual Assault, ASSOCIATED
PRESS (June 22, 2019); Mihir Zaveri, Trump Emphatically Denies Sexual Assault Allegation by E.
Jean Carroll, N.Y. TIMES (June 22, 2019); Trump Dismisses E. Jean Carroll Rape Allegation as
“Fiction”, BBC NEWS (June 22, 2019).


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       98.     Two days later, on June 24, 2019, The Hill released an interview in which Trump

made the following statement in response to Carroll: “I’ll say it with great respect: Number one,

she’s not my type. Number two, it never happened. It never happened, OK?” 10

       99.     Trump’s statement in The Hill was widely reported by the national press. 11

       100.    This insulting statement was consistent with Trump’s response to other accusations

of sexual assault. About one woman, Jessica Leeds, who claimed he groped her and tried to put

his hand up her skirt while they were seated next to each other on an airplane, Trump told crowds

at a rally, “Believe me, she would not be my first choice, that I can tell you.” 12 He called Leeds


       10
         Jordan Fabian & Saagar Enjeti, EXCLUSIVE: Trump Vehemently Denies E. Jean Carroll
Allegation, Says “She’s Not My Type”, HILL (June 24, 2019).
       11
          See, e.g., Julia Arciga, Trump on E. Jean Carroll’s Assault Allegations: “She’s Not My
Type”, DAILY BEAST (June 24, 2019); Associated Press, Trump on E. Jean Carroll Sexual Assault
Claim: “She's Not My Type”, HOLLYWOOD REP. (June 25, 2019); Associated Press, Trump Says
Famed Advice Columnist Who Accused Him of Sexual Assault Is “Not My Type’, CHI. TRIB. (June
24, 2019); Associated Press, Trump: Woman Who Accused Him of Sexual Assault Not His Type,
DENVER POST (June 24, 2019); Amber Athey, Trump Says Columnist Who Accused Him of Rape
Is “Not My Type”, DAILY CALLER (June 24, 2019); Peter Baker & Neil Vigdor, Trump, Accused
Again of Sexual Misconduct, Insults Woman Who Said He Assaulted Her, BOS. GLOBE (June 25,
2019); Antonia Blumberg, Trump on E. Jean Carroll Accusing Him of Rape: “She’s Not My
Type”, HUFFINGTON POST (June 24, 2019); Doina Chiacu, Trump Denies Woman’s Sexual Assault
Accusation: “She's Not My Type”, BUS. INSIDER (June 25, 2019); Doina Chiacu, Trump Denies
Woman’s Sexual Assault Accusation: “She's Not My Type”, REUTERS (June 25, 2019); Burgess
Everett & Melanie Zanona, “I Believe the President”: GOP Stands by Trump on Sexual Assault
Allegation, POLITICO (June 25, 2019); Rebecca Falconer, Trump Says He Didn't Rape Author E.
Jean Carroll: “She's Not My Type”, AXIOS (June 24, 2019); Megan Garber, The Real Meaning of
Trump’s “She’s Not My Type” Defense, ATLANTIC (June 25, 2019); Rebecca Morin, “She’s Not
My Type”: Trump Again Denies E. Jean Carroll's Sexual Misconduct Allegation, USA TODAY
(June 24, 2019); Ari Shapiro, A Look at President Trump's Pattern of Responding To Accusations
Of Sexual Misconduct, NPR (June 25, 2019); Matt Stieb, Trump Responds to E. Jean Carroll Rape
Allegation: “She’s Not My Type”, CUT (June 25, 2019); Jia Tolentino, E. Jean Carroll’s
Accusation Against Donald Trump, and the Raising, and Lowering, of the Bar, NEW YORKER (June
25, 2019); Jay Willis, Donald Trump Responds to E. Jean Carroll's Rape Allegation: “She's Not
My Type”, GQ (June 25, 2019); Anthony Zurcher, Trump Says Sexual Assault Accuser E Jean
Carroll “Not My Type”, BBC NEWS (June 25, 2019).
       12
         Jose A. DelReal, Trump Mocks Sexual Assault Accusers: “She Would Not Be My First
Choice”, WASH. POST (Oct. 14, 2016).


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“the cunt on the airplane” when he ran into her at a charity gala years after the assault. 13 About a

second woman, Natasha Stoynoff, who claimed he forcibly pinned her to a wall and kissed her

without consent while she was interviewing him for a magazine, Trump said to crowds at another

rally, “Take a look, you take a look. Look at her, [then] look at her words, you tell me what you

think. I don’t think so.” 14 Indeed, Trump often responds to claims that he has behaved

inappropriately by simultaneously attacking the individual’s credibility and attractiveness. When

a female journalist quoted him as saying in a 1992 interview that “you have to treat women like

shit,” Trump insisted later, “The woman’s a liar, extremely unattractive, lots of problems because

of her looks.” 15

        101.       In the June 24, 2019 statement, Trump falsely stated that he did not sexually assault

Carroll.

        102.       On June 27, 2019, Birnbach and Martin went on the record to corroborate Carroll.16

        103.       Speaking to Carroll, Martin, and a reporter, Birnbach said:

        “I remember [Carroll] saying repeatedly, he pulled down my tights . . . . [Carroll]
        did say, he put his penis in me. And I said—my face just did it. What? He raped
        you? And [Carroll] said, eh. He kept pulling down—he pulled down my tights. He
        pulled down my tights . . . . It just—it was horrible. We fought. And I said, let’s go
        to the police. [Carroll said,] No. [Birnbach said,] Come to my house. [Carroll said,]
        No. I want to go home. [Birnbach said,] I’ll take you to the police. [Carroll said,]
        No. It was 15 minutes of my life, it’s over. Don’t ever tell anybody. I just had to
        tell you.” 17

        13
        BARRY LEVINE & MONIQUE EL-FAIZY, ALL THE PRESIDENT’S WOMEN: DONALD TRUMP
AND THE MAKING OF A PREDATOR 72 (2019).
        14
        Naomi Lim, Donald Trump on Accuser: “Take a Look at Her . . . I Don’t Think So”,
CNN (Oct. 13, 2016).
        15
        Nancy Collins, Donald Trump Talks Family, Women in Unearthed Transcripts: “When
I Come Home and Dinner’s Not Ready, I Go Through the Roof”, HOLLYWOOD REP. (Oct. 13,
2016).
        16
             Michael Barbaro et al., Corroborating E. Jean Carroll, N.Y. TIMES (June 27, 2019).
        17
             Id.


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        104.       Responding to Carroll, Birnbach, and a reporter, Martin said:

        “From what I could sense of you [Carroll], you were, A, you were handling it, as
        you handle things. She doesn’t break down easily on anything. And there was none
        of that, as you told me. It wasn’t like she started crying, or nothing that was a frantic
        kind of response to it. It was like, I can’t believe this happened.” 18

        105.       Martin added: “I said, don’t tell anybody. I wouldn’t tell anybody this.” 19

        106.       Separately, Birnbach observed, “I believe E. Jean in this episode that she recounted

to me in 1996. Yes. Without hesitation. She’s not a fabulist. She doesn’t make things up.” 20

VI.     TRUMP’S FALSE STATEMENTS ABOUT CARROLL IN JUNE 2019 WERE
        MADE WITH KNOWLEDGE OF FALSITY OR RECKLESS DISREGARD FOR
        THE TRUTH

        107.       The false statements that Trump made about Carroll on June 21, 22, and 24, 2019,

were published with knowledge of their falsity and/or with reckless disregard for the truth.

        108.       Trump knew who Carroll was at the time he sexually assaulted her. And Trump

also knew who Carroll was when he made his false statements in June 2019.

        109.       Trump was photographed with Carroll in the years prior to the assault.

        110.       Trump identified Carroll on sight as the “advice lady” when they met at Bergdorf

Goodman.

        111.       In that period, Trump moved in the same highly publicized New York City media

circles as Carroll, who also appeared on her own popular daily television program.

        112.       Trump has stated that he possesses “one of the great memories of all time.” 21


        18
             Id.
        19
             Id.
        20
        Jessica Bennett et al., Why E. Jean Carroll, “the Anti-Victim,” Spoke Up About Trump,
N.Y. TIMES (June 27, 2019).
        21
        Foreign Staff, Donald Trump: I Have “One of the Greatest Memories of All Time”,
TELEGRAPH (Oct. 26, 2017).


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       113.     Trump has also described himself as a “very stable genius.” 22

       114.     In June 2019, Trump knew it was false to state that he had never met Carroll.

       115.     In June 2019, Trump knew it was false to state that he had no idea who Carroll was.

       116.     In June 2019, Trump knew it was false to state that he had never sexually assaulted

Carroll.

       117.     Trump’s other defamatory statements about Carroll in June 2019—that she had

fabricated the accusation to increase her book sales, to carry out a political agenda, as part of a

conspiracy with the Democratic Party, or in exchange for payment—rested on the express or

deliberately-implied premise that Carroll’s underlying accusation was false. Because Trump knew

that the accusation was true, he also knew that his other statements about Carroll were false.

       118.     Trump has admitted that he lacked any factual basis for these highly specific

statements regarding why Carroll had revealed to the public that he sexually assaulted her at

Bergdorf Goodman. Trump had no knowledge of Carroll’s financial circumstances or the details

of Carroll’s book deal, and he had no knowledge of Carroll’s political affiliation or party

registration. Trump did not personally investigate any of the relevant factual circumstances, nor

did he instruct anyone else on his White House staff to do so. Indeed, Trump has admitted that

neither he nor anyone on his staff reached out to Bergdorf Goodman prior to his June 2019

statements, in which he thanked the store for “confirming they have no video footage of any such

incident.” Additionally, although Trump requested in his June 21, 2019 statement to be notified if

“anyone has information that the Democratic party is working with Ms. Carroll,” he testified in

his deposition that he could recall no one ever providing any such information. And since all of

these statements about Carroll were made to impute motives for lying, when in fact he knew that


       22
            Daniella Diaz, Trump: I’m a “Very Stable Genius”, CNN (Jan. 6, 2018).


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Carroll had spoken the truth, Trump had strong reason to doubt the veracity of his own insulting

claims. Trump thus published these statements with reckless disregard for the truth.

        119.   Trump also lacked any factual basis for stating (or affirmatively implying) that

Carroll had falsely accused other men of sexual assault. When he made his June 2019 statements,

Trump had not read the excerpt of Carroll’s book in which certain of these allegations appeared

and had no knowledge of their truth or falsity. As of his October 19, 2022 deposition, Trump had

not read the excerpt or any other part of Carroll’s book either. And since he knew that her

accusation against him was truthful, he had strong reason to doubt the veracity of his statement

that she was lying about other men. Trump thus made this statement with reckless disregard for

the truth.

        120.   Carroll did not reveal Trump’s sexual assault for any of the reasons imputed to her

by Trump. Each and every statement that he made about her motives for coming forward—and

her supposed conspiracy with political actors to fabricate a sexual assault accusation—was false.

        121.   To the contrary, Carroll feared that revealing Trump’s sexual assault would cause

terrible damage to her reputation, career, and personal life. That was especially true given Trump’s

famed litigiousness and public abuse of those who criticize him. Carroll made this decision to

honor her values and to inspire other sexually abused women to seek justice and accountability.

        122.   With respect to politics, to the extent Carroll considered such things at all, it was

principally to worry that coming forward might benefit Trump by firing up his base and affording

him another opportunity to play the victim on national television.

        123.   Trump’s series of false, insulting, and defamatory statements about Carroll—and

his actual malice in making those statements—are fully consistent with his tried-and-true playbook

for responding to credible public reports that he sexually assaulted women.




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         124.     In 2005, Trump admitted—on a hot mic—to repeatedly sexually assaulting women

in almost exactly the same manner that he had sexually assaulted Carroll:

         “I’d better use some Tic Tacs just in case I start kissing her [the woman Trump was
         looking at, whom he had never met before]. You know, I’m automatically attracted
         to beautiful—I just start kissing them. It’s like a magnet. Just kiss. I don’t even
         wait. And when you’re a star, they let you do it. You can do anything. . . . Grab ’em
         by the pussy. You can do anything. . . . Ooh, [she has] nice legs, huh?” 23

         125.     Based on Carroll’s own experiences, Trump’s 2005 statement was not “locker room

talk” or mere braggadocio. It was a true description of how Trump believes he can treat women—

and of how he has treated them on many occasions, including at Bergdorf Goodman.

         126.     Indeed, Trump has emphasized that stars have been able to grab women by their

genitals for “the last million years”—a circumstance that he suggested might be “fortunate[]” for

stars like him.

         127.     Trump thus knew he was lying when he said that Carroll had fabricated her

accusation for a hodgepodge of unsavory reasons that he himself had invented out of whole cloth,

for purely personal reasons. He knew she was telling the truth because he knew who she was and

he knew that he had sexually assaulted her, just as he had sexually assaulted other women over

many years.

VII.     TRUMP’S FALSE STATEMENTS ABOUT CARROLL IN JUNE 2019 WERE
         MADE FOR PURELY PERSONAL REASONS

         128.     In making the June 2019 statements, Trump was motivated by purely personal

reasons, rather than presidential or official reasons.

         129.     At the time Trump made his statements in June 2019, nobody in the White House

(to Trump’s knowledge) had undertaken any research into Carroll or her allegations.



         23
              Transcript: Donald Trump’s Taped Comments About Women, N.Y. TIMES (Oct. 8, 2016).


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       130.    Thus, at the time Trump made his statements in June 2019, neither Trump nor (to

his knowledge) any of his White House aides had conducted any research or investigation into

Carroll’s financial arrangements, her publication contract, her book sales, her political leanings,

her connections to political actors (or lack thereof), her reasons for speaking up, or the veracity of

her allegations concerning experiences of sexual misconduct at the hands of other men.

       131.    At the time Trump made his statements in June 2019, neither Trump nor (to his

knowledge) any of his White House aides had contacted Bergdorf Goodman about this matter.

       132.    At the time Trump made his statements in June 2019, Trump had not read Carroll’s

book excerpt and had no firsthand knowledge of her statements concerning his sexual assault.

       133.    At his deposition in this case, Trump did not identify any White House personnel

as involved in investigating, preparing, strategizing, or creating his June 2019 statements. Nor did

he identify any other administration official as playing any role at all in the June 2019 statements,

or any official meetings focused on Carroll’s allegations or his response that he attended,

organized, requested, or proposed.

       134.    For example, Trump testified that he did not recall speaking about Carroll’s

allegations with Mick Mulvaney (Trump’s acting Chief of Staff at the time of his June 2019

statements) or Emma Doyle (his Principal Deputy Chief of Staff). He testified that he did not speak

with Sarah Sanders (his Press Secretary at the time of the June 2019 statements) or Hope Hicks

(his Communications Director). And he has alternately denied speaking to or said he had “not

much” conversation with Stephanie Grisham (whom Trump promoted to Press Secretary and

Communications Director on June 25, 2019).

       135.    In fact, at Trump’s deposition, the only individuals at all associated with the

Executive Branch with whom Trump recalled speaking about Carroll’s allegations were two of his




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family members: First Lady Melania Trump and his daughter, Ivanka Trump, who served in an

unpaid advisory position during Trump’s presidency.

       136.    The fact that Trump discussed Carroll’s allegations only with his wife and

daughter— and did not discuss Carroll’s allegations or his response in June 2019 with White House

or Executive Branch political officials—reflects the personally motivated nature of his conduct.

       137.    The nature and content of Trump’s statement further betrayed his personal motives,

and revealed his ill will and spite toward Carroll. Trump did not simply deny Carroll’s allegations

in his June 2019 statements, but instead launched deeply personal attacks. Trump implied that

Carroll was too ugly for him to sexually assault, falsely stated that Carroll had previously lodged

fake allegations of sexual misconduct against other men, and invented a baseless narrative that

Carroll fabricated her accusation for money, to promote a book, or to further a political

conspiracy—without possessing or pointing to one iota of support for those claims.

       138.    When asked at his deposition in this action whether his statements were intended

to punish Carroll, Trump initially denied it, but then stated: “She made a false charge. People

shouldn’t be allowed to make false charges.”

       139.    Trump’s private motives are underscored by the fact that he later made materially

identical defamatory statements about Carroll (detailed below) in his capacity as a private citizen.

These statements included substantively similar, strikingly personal lies. In October 2022, for

example, Trump again defamed Carroll, denigrating her as not his “type” and claiming that he

didn’t know her, had never met her, and her account of being sexually assaulted by him was a

“[h]oax and a lie” and a “scam” to “promot[e] a really crummy book.” More recently, in May 2023

and following an adverse jury verdict, Trump demeaned Carroll once more, making light of his

assault by referring to it as “hanky-panky” and stating that he had “no idea who the hell she is.”




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       140.    This pattern of personally motivated attacks not only persisted long after Trump

left elected office; it also preceded his election in 2016. Trump has a long history of viciously

demeaning women who credibly accuse him of sexual assault. It’s his personal modus operandi.

Put differently, Trump has a playbook that he uses to attack women who reveal his own sexual

misconduct, and that conduct arises from private motives rather than any governmental purpose.

VIII. CARROLL SUFFERS REPUTATIONAL AND OTHER HARM

       141.    Trump’s false and insulting claims about Carroll in June 2019 were defamation per

se. They tended to (and did) damage Carroll in her trade, occupation, and/or business, and they

were defamatory on their face without reference to any extrinsic information.

       142.    Carroll has suffered harm as a direct result of Trump’s false, defamatory statements.

       143.    Carroll endured stoically when she kept secret the fact that Trump had sexually

assaulted her. But coming forward put her in the crosshairs of the most powerful man on the planet.

He has since used his platform—now as a candidate for President—to repeatedly attack her

integrity, demean her appearance, condemn her as a liar, and accuse her of conspiring with political

operatives in a despicable lie.

       144.    Trump’s defamatory statements have caused Carroll emotional pain and suffering

at the hands of the man who sexually assaulted her, as well as injury to her reputation, honor, and

dignity.

       145.    Carroll has suffered professional harm as a direct result of Trump’s defamatory

statements. Carroll’s professional success is inextricably bound up with her Ask E. Jean advice

column, where readers look to her for wisdom, wit, honesty, integrity, and courage. By attacking

Carroll, Trump has injured the reputation on which she makes her livelihood and attracts readers.

       146.    Trump’s defamatory statements caused Carroll to lose the support and goodwill of

many of her readers. Many were turned off by even the idea of writing to a woman whom the


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President of the United States branded a “liar.” Since Trump defamed her, some fans have stopped

sending letters altogether—thus impairing Carroll’s column, which requires a steady flood of

compelling letters to which she can respond. In the months of July, August, and September 2019,

Carroll received roughly 50% fewer letters than she received during the same period in 2018.

        147.   In all, and based on conservative assumptions, Trump’s June 2019 defamatory

statements generated between 142,334,424 and 188,155,507 impressions across various media. An

estimated 34,075,512 to 42,936,354 of these were receptive impressions—i.e., impressions

involving individuals likely to believe Trump’s false claims about Carroll. As a result, the

minimum appropriate corrective campaign, as calculated by Professor Ashlee Humphreys, would

cost at least $10 million.

        148.   Carroll is an advice columnist whose reputation is the very lifeblood of her trade,

and Trump’s defamatory statements have therefore inflicted wide-ranging and substantial harm.

        149.   Carroll filed this lawsuit to obtain redress for those injuries.

IX.     A JURY FINDS TRUMP LIABLE FOR BATTERY AND DEFAMATION IN
        CARROLL II

        150.   As part of his defense to this action, Trump has claimed various immunities from

liability by virtue of his status as President at the time he made his June 2019 defamatory

statements. Trump’s efforts to obtain immunity have contributed to years of delay that have

extended forward to today.

        151.   These delays have given Trump further opportunity to inflict further harm on

Carroll. In due course, he seized on it.

        152.   On October 12, 2022, nearly three years after Carroll filed this action, Trump posted

a lengthy message on his personal account on Truth Social, a social media platform created by




                                                 29
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Trump as an alternative to Twitter. In that statement, Trump substantially repeated his June 2019

defamatory statements:

       “This ‘Ms. Bergdorf Goodman case’ is a complete con job, and our legal system in
       this Country, but especially in New York State (just look at Peekaboo James), is a
       broken disgrace. You have to fight for years, and spend a fortune, in order to get
       your reputation back from liars, cheaters, and hacks. This decision is from the Judge
       who was just overturned on my same case. I don’t know this woman, have no idea
       who she is, other than it seems she got a picture of me many years ago, with her
       husband, shaking my hand on a reception line at a celebrity charity event. She
       completely made up a story that I met her at the doors of this crowded New York
       City Department Store and, within minutes, ‘swooned’ her. It is a Hoax and a lie,
       just like all the other Hoaxes that have been played on me for the past seven years.
       And, while I am not supposed to say it, I will. This woman is not my type! She has
       no idea what day, what week, what month, what year, or what decade this so-called
       ‘event’ supposedly took place. The reason she doesn’t know is because it never
       happened, and she doesn’t want to get caught up with details or facts that can be
       proven wrong. If you watch Anderson Cooper’s interview with her, where she was
       promoting a really crummy book, you will see that it is a complete Scam. She
       changed her story from beginning to end, after the commercial break, to suit the
       purposes of CNN and Andy Cooper. Our Justice System is broken along with
       almost everything else in our Country.”

He then continued:

       “In the meantime, and for the record, E. Jean Carroll is not telling the truth, is a
       woman who I had nothing to do with, didn’t know, and would have no interest in
       knowing her if I ever had the chance. Now all I have to do is go through years more
       of legal nonsense in order to clear my name of her and her lawyer’s phony attacks
       on me. This can only happen to ‘Trump’!” 24

       153.    Trump published the October 12, 2022 statement to his more than four million

followers on Truth Social. Around the same time, Trump emailed the statement to a listserv of

supporters, and it was widely reported in the press, reaching millions upon millions of people.

       154.    On November 24, 2022, Carroll sued Trump for defamation for the harms that she

incurred as a result of the October 12, 2022 statement. See Carroll v. Trump, No. 22 Civ. 10016




      24
          Donald J. Trump (@realDonaldTrump), Truth Social (Oct. 12, 2022, 10:38 PM),
https://truthsocial.com/@realDonaldTrump/posts/109158644496040450.


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(S.D.N.Y.) (“Carroll II”). As part of that lawsuit, Carroll also brought a claim for battery pursuant

to New York’s Adult Survivors Act relating to the underlying sexual assault. That Act revived

certain battery claims for a one-year period if the conduct of the defendant would have constituted

a sex offense as defined in Article 130 of the New York Penal Law. C.P.L.R. § 214-j.

       155.    Trial in Carroll II began on April 25, 2023. The Court empaneled an anonymous

jury of nine members, including six men and three women.

       156.    Over the next two weeks, Carroll presented eleven witnesses who corroborated key

aspects of her account. Those included Birnbach and Martin, the two friends who Carroll told of

the assault right after it happened; two former employees of Bergdorf’s who worked at the store

during the period when the assault occurred; a psychological expert who testified that Carroll’s

reaction to and damages from the assault were consistent with responses to sexual trauma more

generally; a defamation damages expert who testified regarding the significant harm that Carroll’s

reputation suffered as a result of the October 12, 2022 statement; two women who Trump had

assaulted in remarkably similar ways; Carroll’s sister; Carroll’s former boss at Elle magazine; and

Carroll herself. An aggressive cross-examination of Carroll, in which Trump’s attorney sought to

undermine her credibility by asking why she didn’t scream when Trump assaulted her and whether

having someone “rummage around in” her vagina was different than having someone insert a

finger in her vagina, took up almost two full trial days.

       157.    Trump, for his part, chose not to testify—or to attend any of the trial at all. Instead,

he let the jury hear from him only through video excerpts of the deposition taken in this action on

October 19, 2022. Trump called no witnesses of his own.

       158.    After the parties rested and presented their closing arguments, the Court instructed

the jury on the morning of May 9, 2023. Less than three hours later, the jury reached a verdict.




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       159.    On the first count, battery, the jury found in favor of Carroll. The jury determined

by a preponderance of the evidence that Trump sexually abused her in the dressing room at

Bergdorf’s—i.e., that Trump subjected Carroll to sexual contact (meaning any touching of the

sexual or other intimate parts of a person for the purpose of gratifying the sexual desire of either

person), without her consent, by the use of forcible compulsion (meaning intentionally to compel

by the use of physical force). See N.Y.P.L. § 130.65. The jury awarded Carroll $2 million in

compensatory damages for this claim.

       160.    The jury also determined by a preponderance of the evidence that Trump’s sexual

abuse was willfully or wantonly negligent, reckless, or done with a conscious disregard of Carroll’s

rights or was so reckless as to amount to such disregard. Accordingly, the jury awarded Carroll

$20,000 in punitive damages.

       161.    On the second count, defamation, the jury also found in favor of Carroll. It

determined by a preponderance of the evidence that Trump’s October 12, 2022 statement—in

which Trump denied knowing Carroll, claimed he “had nothing to do with” her, and insisted that

Carroll had “completely made up” the incident at Bergdorf’s—was defamatory. 25 The jury further

determined by clear and convincing evidence that Trump’s statement was false and that Trump

had made it with actual malice. After determining that Carroll was injured by Trump’s statement,

the jury awarded her $2.7 million in compensatory damages.



       25
          The jury was directed to consider those portions of the October 12, 2022 about Carroll—
i.e., where Trump called Carroll’s accusation “a complete con job” and “a Hoax, and a lie”; stated
that Carroll “completely made up a story that I met her at the doors of this crowded New York
City department store and, within minutes ‘swooned’ her”; claimed that his sexual abuse “never
happened” and that “Carroll is not telling the truth”; asserted that Carroll “changed her story from
beginning to end” during a CNN interview; insinuated that Carroll fabricated her accusation as
part of “a complete Scam” to “promot[e] a really crummy book”; asserted that he “didn’t know”
and “had nothing to do with” Carroll; stated that he “would have no interest in knowing her if [he]
ever had the chance”; and insisted that she was not his “type.”


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       162.    The jury also found that Trump had acted maliciously, out of hatred, ill will, or

spite, or with wanton, reckless, or willful disregard of Carroll’s rights in making his October 12,

2022 statement and awarded Carroll $280,000 in punitive damages.

       163.    In total, the jury held Trump liable for $5 million in damages.

X.     TRUMP AGAIN DENIES SEXUALLY ABUSING CARROLL AND MAKES A
       SLEW OF FALSE, INSULTING CLAIMS ABOUT HER

       164.    Immediately after the verdict was announced, Trump began lashing out in response.

He started by posting various messages and videos on his Truth Social account decrying the

verdict, and disparaging Carroll, the jury, and the judicial system more generally.

       165.    Mere minutes after the verdict became public, Trump repeated the defamatory lie

that he had no idea who Carroll was and again claimed that her accusation of sexual assault was

politically motivated: “I HAVE ABSOLUTELY NO IDEA WHO THIS WOMAN IS. THIS

VERDICT IS A DISGRACE – A CONTINUATION OF THE GREATEST WITCH HUNT OF

ALL TIME!” 26

       166.    Shortly after midnight that night, Trump followed up with another Truth Social post

attacking the “partisan Judge & Jury on the just concluded Witch Hunt Trial,” and again insisting

that the “Hoax” (Carroll’s suit and the ensuing trial) was part of a political conspiracy. 27




       26
             Donald J. Trump (@realDonaldTrump), Truth Social (May 9, 3:29 PM),
https://truthsocial.com/@realDonaldTrump/posts/110340379870475514.
       27
            Donald J. Trump (@realDonaldTrump), Truth Social (May 10, 12:34 AM),
https://truthsocial.com/@realDonaldTrump/posts/110342521655891366.


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       167.    Less than an hour later, Trump once again insisted that Carroll’s accusation and

suit were a “Rigged Hoax,” “yet another TRAVESTY OF JUSTICE,” and “a continuation of the

greatest political Witch Hunt of all time!!!” 28

       168.    Then, in the evening of May 10, 2023, CNN hosted a primetime town hall event in

New Hampshire. Trump received questions from the audience and the event’s moderator, Kaitlan

Collins. Early in the broadcast, Collins turned to the prior day’s jury verdict. Trump responded to

her questions by repeating many of the same defamatory statements for which the jury had just

found him liable the day before:

       COLLINS: This was a jury of nine people who found you –

       TRUMP: That’s right.

       COLLINS: – liable of sexual abuse. Do you think that – that will deter women from
       voting for you?

       TRUMP: No, I don’t think so because I think the whole thing – just so you
       understand – ready? I never met this woman. I never saw this woman. This woman
       said I met her at the front door of Bergdorf Goodman which I never go into other
       than for a couple of charities. I met her in the front door. She was about 60 years.
       This is like 22, 23 years ago. I met her in the front door of Bergdorf Goodman. I
       was immediately attracted to her and she was immediately attracted to me. And we
       had this great chemistry. We’re walking into a crowded department store. We had
       this great chemistry. And a few minutes later, we end up in a room, a dressing room
       of Bergdorf Goodman, right near the cash register. And then she found out that
       there were locks in the door. She said, I found one that was open. She found one,
       she learned this at trial. She found one that was open. What kind of a woman meet
       somebody and brings them up and within minutes, you’re playing hanky-panky in
       a dressing room, okay? I don’t know if she was married then or not. John Johnson,
       I feel sorry for you, John Johnson.

       COLLINS: Mr. President, can I – can I ask you this?

       TRUMP: Think of it, think of this –

       COLLINS: I know you’re recounting what you said but, Mr. President –


       28
             Donald J. Trump (@realDonaldTrump), Truth Social (May 10, 1:20 AM),
https://truthsocial.com/@realDonaldTrump/posts/110342704670441764.


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  TRUMP: But let me just, if I could because you asked a question.

  COLLINS: This was a jury though –

  TRUMP: Just so you understand, because I was walking in at a department –
  because I was very famous then and I owned the Plaza Hotel right next door and I
  owned the buildings around it. I’m not going into a dressing room of a crowded
  department store. Then I say, if she was being raped – and by the way, they said
  she wasn’t raped, okay? That was her charge. It wasn’t –

  COLLINS: They found that you sexually abused her.

  TRUMP: Oh, that was – say what the – they didn’t – they said he didn’t rape her.

  COLLINS: They did not say –

  TRUMP: And I didn’t do anything else either. You know what? Because I have no
  idea who the hell she is. I don’t know who this woman is.

  COLLINS: But, Mr. President, can I – can I ask you given your recounting and
  your version –

  TRUMP: I don’t know who – and I tell you this. Are you ready?

  COLLINS: But, Mr. President, can I – can I ask you because –

  TRUMP: And I swear on my children, which I never do. I have no idea who this
  woman. This is a fake story, made up story. We had a horrible Clinton-appointed
  judge. He was horrible. He allowed her to put everything in. He allowed us to put
  nothing in. This is a fake story.

  COLLINS: Mr. President, you’re recounting your version of events here right now
  to the audience. You reference the trial. You did not go to the trial and actually
  testify.

  TRUMP: That’s right.

  COLLINS: Do you wish that you had testified?

  TRUMP: No, it wouldn’t have made a difference. This is rigged deal. This was a –
  my lawyer said, sir, you don’t have to do it. I actually said, I think I should, it would
  be disrespectful. They said, sir, don’t do it. This is fake story and you don’t want to
  give it credibility.

  COLLINS: One thing you –

  TRUMP: That’s why I didn’t go.

  COLLINS: One thing you did do in this –


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       TRUMP: And I swear and I’ve never done that, and I swear to – I have no idea who
       the hell – she’s a whack job. 29

       169.       During the exchange, Trump falsely stated that he did not sexually abuse Carroll,

that he has no idea who Carroll was, and that Carroll’s now-proven accusation was a “fake” and

“made up story” created by a “whack job.” Trump also insulted Carroll’s character and

downplayed his sexual abuse of her by asking “what kind of woman meets someone” and then

“within minutes” plays “hanky-panky in a dressing room.”

       170.       Approximately 3.3 million viewers watched the CNN broadcast during which this

exchange took place. 30 Viewers heard the studio audience applauding and laughing along

uproariously to Trump’s comments. The entire segment ran from 8:00 p.m. to 9:15 p.m. During

that time, CNN was the most-watched cable news network, more than doubling the ratings of Fox

News and MSNBC. 31 CNN reported that the program was the network’s second most-viewed

single-candidate town hall since 2016. 32

       171.       Trump’s statements about Carroll were also widely reported in the press. 33


       29
         READ: Transcript of CNN’s Town Hall with Former President Donald Trump, CNN
(May 11, 2023).
       30
         Ted Johnson, CNN’s Donald Trump Town Hall Wins Time Slot With 3.3 Million
Viewers — Update, DEADLINE (May 11, 2023).
       31
            Id.
       32
            Id.
       33
          E.g., Benjamin Weiser, Lola Fadulu, and Kate Christobek, E. Jean Carroll May Sue
Trump a Third Time After ‘Vile’ Comments on CNN, N.Y. TIMES (May 11, 2023); Claire Lampen,
Donald Trump Still Claims He Doesn’t Know E. Jean Carroll, CUT (May 11, 2023); Steve Peoples,
Trump turned his liabilities into laugh lines at CNN town hall, underscoring GOP rivals’
challenge, ASSOCIATED PRESS (May 11, 2023); Peter Sblendorio, Donald Trump’s ‘disastrous’
CNN town hall elicits strong reactions, N.Y. DAILY NEWS (May 11, 2023); Kierra Frazier, CNN’s
own employees are disparaging the Trump town hall, POLITICO (May 11, 2023); Abigail
Weinberg, Trump Mocked E. Jean Carroll Live on CNN. The Audience Laughed, MOTHER JONES
(May 11, 2023); Laura Italiano and Natalie Musumeci, Sex-assault survivors unleash a firestorm
of anger at CNN letting Trump try to re-victimize E. Jean Carroll by dismissing his abuse as ‘hanky



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       172.    Supporters of Trump echoed many of the lies and demeaning remarks that Trump

made about Carroll. One Twitter user wrote: “@ejeancarroll You’ve not won a thing. You’ve just

proven what men have known for years: once women are short of cash you fabricate a crock of

shite to fund your plastic lifestyle. A two-bit money grabbing whore who belongs in an asylum.




panky’, INSIDER (May 11, 2023); Fact-checking Trump’s CNN town hall in New Hampshire, CNN
(May 11, 2023); Christian Blauvelt, CNN Trump Town Hall Backlash Grows After Verdict in E.
Jean Carroll Case, INDIE WIRE (May 10, 2023); Kyler Alvord, Trump Draws Laughter, Applause
as He Mocks E. Jean Carroll During CNN Town Hall, PEOPLE MAG. (May 11, 2023); Brian
Bennett, Trump Uses CNN Town Hall to Mock E. Jean Carroll After a Jury Found Him Liable
For Sexually Abusing Her, TIME (May 10, 2023); Trump takes aim at E. Jean Carroll at CNN
town hall after lawsuit loss, AXIOS (May 10, 2023); Jill Colvin, Trump Digs In On Election Lies,
Insults Accuser During CNN Town Hall Event, ASSOCIATED PRESS (May 11, 2023); Domenico
Montanaro, Trump Continues Lies About Election And Lashes Out After N.Y. Verdict In Town
Hall, NPR (May 10, 2023); Kevin Breuninger, Trump pushes false election claims, mocks E. Jean
Carroll to applause during CNN town hall, CNBC (May 10, 2023); Nikki McCann Ramirez,
Trump Mocks E. Jean Carroll at Town Hall, as His Fans Cheer Him On, ROLLING STONE (May
10, 2023); Brett Samuels, Trump calls E. Jean Carroll a ‘whack job’ after sexual abuse verdict,
HILL (May 10, 2023); Ursula Purano, Trump Abused and Defamed E. Jean Carroll All Over Again
on CNN, DAILY BEAST (May 10, 2023); Patrick Reilly, Trump claims E. Jean Carroll trial was
rigged after he was found liable of sexual abuse, defamation , N.Y. POST (May 10, 2023); Chris
Stein, Trump town hall live: ex-president repeats election lies and denies sexual abuse verdict to
mostly Republican crowd, GUARDIAN (May 10, 2023); Michelle L. Price, What to know about
Trump’s CNN town hall: Lies about election and abortion, attacks on accuser, ASSOCIATED PRESS
(May 10, 2023); Isaac Arnsdorf and Maeve Reston, Trump’s CNN town hall: Defending rioters,
mocking sexual assault, threatening default, WASH. POST (May 10, 2023); Jeremy Herb, Trump
again refuses to concede 2020 election while taking questions from New Hampshire GOP primary
voters, CNN (May 10, 2023); Kathryn Watson, Jacob Rosen, and Olivia Rinaldi, Trump CNN town
hall highlights include comments on E. Jean Carroll verdict, Jan. 6 and more, CBS NEWS (May
11, 2023); Allan Smith, Trump dismisses his sex abuse verdict and gloats that it will help his 2024
bid, NBC NEWS (May 10, 2023); Nathan Layne and Tim Reid, Trump jokes about sexual abuse
verdict, repeats election falsehoods, REUTERS (May 10, 2023); Brent D. Griffiths, Trump insulted
the woman he was found liable of sexually abusing — and CNN’s audience laughed about it,
INSIDER (May 11, 2023); Ed Kilgore, Trump’s CNN Town Hall Was a MAGA Rally, N.Y. MAG.
(May 10, 2023); Brian Niemietz, Donald Trump bashes E. Jean Carroll, repeats 2020 election lies
in CNN town hall, N.Y. DAILY NEWS (May 10, 2023); Mel Leonor Barclay, Trump uses CNN town
hall to insult a woman he assaulted, 19TH (May 10, 2023); Meredith Deliso and Will McDuffie,
Trump denies knowing E. Jean Carroll during CNN town hall: ‘I swear on my children’, ABC
NEWS (May 10, 2023); Ryan Gajewski, CNN Town Hall Audience Members Laugh, Cheer as
Trump Talks About E. Jean Carroll Sexual Abuse Verdict, HOLLYWOOD REP. (May 10, 2023).


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Such antics are typical of cretins.” 34 Another wrote: “They laughed when Trump provided a

scenario, absolutely so absurd, in which a woman would meet a stranger & go into a dressing room

for ‘hanky panky’ - that is what garnered the laugh. Americans know @ejeancarroll LIED to stop

Trump 2024 run.” 35 Yet another: “can someone please JFK this lunatic. @ejeancarroll is the most

vile disgusting piece of rotten smelly putrid shit i have ever fucking seen.” 36

       173.    These and other similar messages are exactly what Trump intended. Trump used a

national platform to demean and mock Carroll. He egged on a laughing audience as he made light

of his violent sexual assault, called Carroll names, implied that Carroll was asking to be assaulted,

and dismissed the jury’s verdict vindicating Carroll.

       174.    At the jury trial that took place in the related action between April 25 and May 9,

2023, this Court instructed the jury concerning an award of punitive damages in connection with

Trump’s October 12, 2022 defamatory statement as follows: “[P]unitive damages . . . may be

awarded to punish a defendant who has acted maliciously and to discourage others from doing the

same. . . . A statement is made with malice or it’s made maliciously . . . if it’s made with deliberate

intent to injure or made out of hatred or ill will or spite or made with willful or wanton or reckless

disregard of another’s rights.” Both “prior or subsequent defamations” and “subsequent statements

of the defendant” may reflect a defendant’s malice. Celle v. Filipino Reporter Enters. Inc., 209

F.3d 163, 184–85 (2d Cir. 2000) (quoting Herbert v. Lando, 441 U.S. 153, 164 n.12 (1979)).

Trump’s defamatory statements post-verdict show the depth of his malice toward Carroll since it


       34
         Hank (@HankJoho), Twitter (May 13, 2023, 4:47 PM), https://twitter.com/
HankJoho/status/1657487688772235264.
       35
        Dawn (@Dogs4Dawn), Twitter (May 11, 2023, 8:40 AM), https://twitter.com/
Dogs4Dawn/status/1656640433651429376.
       36
          Keke Gayle McGavock (@alovelykink), Twitter (May 13, 2023, 3:02 PM), https://
twitter.com/alovelykink/status/1657461413877633026.


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is hard to imagine defamatory conduct that could possibly be more motivated by hatred, ill will,

or spite. This conduct supports a very substantial punitive damages award in Carroll’s favor both

to punish Trump, to deter him from engaging in further defamation, and to deter others from doing

the same.

                             CAUSE OF ACTION: DEFAMATION

        175.    Carroll incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        176.    Trump published statements to the media on June 21, 22, and 24, 2019.

        177.    Each of those statements identified—and was “of or concerning”—Carroll.

        178.    Each of those statements contained numerous falsehoods about Carroll, whether on

their face and/or by virtue of a clear implication affirmatively intended by Trump.

        179.    Trump’s false statements in June 2019 regarding Carroll were defamatory per se.

        180.    These false and defamatory statements were published throughout New York state

and around the world on television, in newspapers and magazines, on social media, and elsewhere

in print and on the internet. Trump ensured that his false and defamatory statements about Carroll

would receive a wide circulation by making them to the national press.

        181.    Trump made these false and defamatory statements knowing that they were false

or with reckless disregard for their truth or falsity.

        182.    Trump made these false statements with ill will and spite, and with wanton,

reckless, or willful disregard for their injurious effects on Carroll and Carroll’s rights.

        183.    Trump’s false and defamatory statements caused Carroll to suffer reputational,

emotional, and professional harm, as alleged above.




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                                    PRAYER FOR RELIEF

           WHEREFORE, Carroll prays for relief as follows:

       a. Ordering Trump to retract any and all defamatory statements;

       b. Ordering Trump to pay compensatory damages in an amount to be determined at trial,

           but in no event less than $10 million;

       c. Ordering Trump to pay punitive damages in an amount to be determined at trial; and

       d. Awarding pre- and post-judgment interest, costs, and such other and further relief as

           this Court may deem just and proper.

                                        JURY DEMAND

       Plaintiff E. Jean Carroll hereby demands a trial by jury on all issues so triable pursuant to

Rule 38 of the Federal Rules of Civil Procedure.




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